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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                       Chapter 7

    AKORN HOLDING COMPANY LLC,                                   Case No. 23-10253 (KBO)
    et al., 1
                    Debtors.                                     (Jointly Administered)

       AMENDED2 NOTICE OF AGENDA FOR HEARING SCHEDULED
 FOR JULY 18, 2023 AT 3:00 P.M. (PREVAILING EASTERN TIME), BEFORE THE
HONORABLE KAREN B. OWENS AT THE UNITED STATES BANKRUPTCY COURT
   FOR THE DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET
  STREET, 6TH FLOOR, COURTROOM NO. 3, WILMINGTON, DELAWARE 19801

                HEARING IS CANCELLED BY PERMISSION OF THE COURT

This hearing will be conducted in person. All parties, including witnesses, are expected to attend
                          in person unless permitted to appear via Zoom.
Participation at the in-person court proceeding using Zoom is allowed only in the following
circumstances: (i) counsel for a party or a pro se litigant files a responsive pleading and intends
to make only a limited argument; (ii) a party or a representative of a party is interested in
observing the hearing; (iii) a party is proceeding in a claims allowance dispute on a pro se basis;
(iv) an individual has a good faith health-related reason to participate remotely and has obtained
permission from chambers to do so; or (v) other extenuating circumstances that warrant remote
participation as may be determined by the Court.3

 If appearance via Zoom is permitted, please use the following link to register for this hearing to
appear via Zoom. All individuals participating by video must register at least two (2) hours prior
   to the hearing. After registering your appearance by Zoom, you will receive a confirmation
                     email containing information about joining the hearing.

https://debuscourts.zoomgov.com/meeting/register/vJItf--pqjoiH4Y6wTPYbw5hxk_fX7Omflc

                Topic: Akorn Holding Company LLC et al – Case No. 23-10253 (KBO)
                      When: July 18, 2023 at 3:00 p.m. (Prevailing Eastern Time)
             You must use your full name when registering and logging into Zoom or you will
                                  not be granted access to the hearing.
                             CourtCall will NOT be used for this hearing.


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  The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers, and
cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate Company
LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23-10255. The
Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.
2
  Amended Agenda items appear in bold text.
3
  See Chambers Procedures of the Honorable Karen B. Owens dated October 3, 2022.
https://www.deb.uscourts.gov/content/judge-karen-b-owens

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CONTINUED MATTERS:

1.     Notice of Executory Contracts and Unexpired Leases that May be Assumed and Assigned,
       Pursuant to Section 365 of the Bankruptcy Code, in Connection with the Sale of Substantially
       all of the Debtors’ Assets, and the Proposed Cure Amounts
       [Filed 5/1/2023; Docket No. 146]

       Related Documents:           None

       Objection Deadlines:1        Objections to Proposed Cure Amounts
                                    and Assumption/Assignment of Executory
                                    Contracts/Leases:………...                May 16, 2023

                                    Replies to Cure Objections and
                                    Assumption/Assignment of Executory
                                    Contracts/Leases:…………………….                    May 18, 2023

       Responses Received:          (a)    Galenicum Health, S.L.U.’s Reservation of Rights and
                                           Objection to Cure and Assumption and Assignment
                                           [Filed 5/16/2023; Docket No. 191]

                                    (b)    Declaration in Support of Galenicum Health, S.L.U.’s
                                           Reservation of Rights and Limited Objection
                                           [Filed 5/30/2023; Docket No. 295

                                    (c)    Certification of Counsel Regarding the Order Approving
                                           Stipulation for Settlement and Continuance of Hearing for
                                           Galenicum Health, S.L.U.'s Reservation of Rights and
                                           Objection to Cure and Assumption and Assignment
                                           [Filed 7/5/2023; Docket No. 524]

                                    (d)    Entered Order Approving Stipulation for Settlement and
                                           Continuance of Hearing for Galenicum Health, S.L.U.'s
                                           Reservation of Rights and Objection to Cure and Assumption
                                           and Assignment
                                           [Filed 7/7/2023; Docket No. 525]

       Status:                             The hearing on the assumption and assignment of the
                                           Contract, if necessary, is continued to August 16, 2023 at 9:30
                                           a.m.




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     Objection Deadlines as provided in the Bidding Procedures Order.

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UNCONTESTED MATTERS WITH CERTIFICATION OF NO OBJECTION:

2.     Motion to Allow Late filed Claim as Timely Filed by CRG Financial LLC
       [Filed 6/30/2023; Docket No. 517]

       Related Documents:           (a)   Proposed Order

                                    (b)   Certificate of No Objection
                                          [Filed 7/12/2023; Docket No. 531]

       Objection Deadline:                July 11, 2023 at 4:00 p.m.

       Responses Received:                None

       Status:                            Order has been entered. This matter is concluded.


3.     Trustee’s Motion for Entry of an Order Extending Time to Assume or Reject Certain
       Unexpired Leases of Real Personal Property Pursuant to 11 U.S.C. Section 365(d)(4)
       [Filed 6/22/2023; Docket No. 463]

       Related Documents:           (a)   Proposed Order

                                    (b)   Certificate of No Objection
                                          [Filed 7/14/2023; Docket No. 534]

       Objection Deadline:                July 11, 2023 at 4:00 p.m.

       Responses Received:                None

       Status:                            Order has been entered. This matter is concluded.




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4.     Trustee’s Motion for Entry of an Order Further Extending Time to Assume or Reject
       Certain Executory Contracts and Unexpired Leases of Personal Property Pursuant to 11
       U.S.C. Sections 365(d)(1)
       [Filed 6/22/2023; Docket No. 464]

       Related Documents:           (a)   Proposed Order

                                    (b)   Certificate of No Objection
                                          [Filed 7/14/2023; Docket No. 535]

       Objection Deadline:                July 11, 2023 at 4:00 p.m.

       Responses Received:                None

       Status:                            Order has been entered. This matter is concluded.


Dated: July 17, 2023                                           COZEN O’CONNOR
       Wilmington, Delaware

                                                       By:     /s/ John T. Carroll, III
                                                               John T. Carroll, III (DE No. 4060)
                                                               1201 N. Market Street
                                                               Suite 1001
                                                               Wilmington, DE 19801
                                                               (302) 295-2000 Phone
                                                               (302) 295-2013 Fax No.
                                                               jcarroll@cozen.com

                                                               Counsel to George L. Miller,
                                                               Chapter 7 Trustee




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